Case 2:20-cv-00169-JAK-DFM         Document 74 Filed 02/21/25    Page 1 of 16 Page ID
                                         #:6376


  1   Clement S. Roberts (SBN 209203)
      croberts@orrick.com
  2   ORRICK HERRINGTON & SUTCLIFFE LLP
  3   405 Howard Street
      San Francisco, CA 94105
  4   Tel: 415-773-5700 / Fax: 415-773-5759
  5   Alyssa M. Caridis (SBN 260103)
      acaridis@orrick.com
  6   ORRICK HERRINGTON & SUTCLIFFE LLP
  7   355 S. Grand Avenue, Suite 2700
      Los Angeles, CA 90071
  8   Tel: 213-629-2020 / Fax: 213-612-2499
  9   George I. Lee (Admitted Pro Hac Vice)           Lance Yang (SBN 260705)
      lee@ls3ip.com                                   lanceyang@quinnemanuel.com
 10   Sean M. Sullivan (Admitted Pro Hac Vice)        QUINN EMANUEL URQUHART &
 11   sullivan@ls3ip.com                              SULLIVAN, LLP
      Rory P. Shea (Admitted Pro Hac Vice)            865 S. Figueroa Street, 10th Floor
 12   shea@ls3ip.com                                  Los Angeles, CA 90017
      J. Dan Smith (Admitted Pro Hac Vice)            Tel: (213) 443-3000
 13   smith@ls3ip.com                                 Fax: (213) 443-3100
 14   LEE SULLIVAN SHEA & SMITH LLP
      656 W. Randolph Street, Floor 5W                Attorneys for Defendant,
 15   Chicago, IL 60661                               GOOGLE LLC
      Tel: 312-754-0002 / Fax: 312-754-0003
 16
 17   Attorneys for Plaintiff, Sonos, Inc.

 18
 19                  UNITED STATES DISTRICT COURT
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 20
 21
 22   SONOS, INC.,                                  Case No. 2:20-cv-00169-JAK (DFMx)
 23                   Plaintiff,                    JOINT RULE 26(f) REPORT
            v.
 24
      GOOGLE LLC,
 25
                      Defendant.
 26
 27
 28

                                                                  Case No. 2:20-cv-00169-JAK (DFMx)
                                             JOINT REPORT
Case 2:20-cv-00169-JAK-DFM       Document 74 Filed 02/21/25       Page 2 of 16 Page ID
                                       #:6377


  1            Plaintiff Sonos, Inc. and Defendant Google LLC submit this Joint Rule 26(f)
  2   Report pursuant Federal Rule of Civil Procedure 26(f) and Local Rule 26. Counsel
  3   for the parties held a conference pursuant to Federal Rule of Civil Procedure 26(f)
  4   on February 14, 2025 regarding case management, the nature of the parties’ claims
  5   and defenses and the discovery plan.
  6   1.       Statement of the Case
  7   Sonos’s Summary: This is an action for patent infringement of Sonos’s U.S. Patent
  8   Nos.:
  9            1. 8,588,949 (“’949 Patent”)              6. 10,031,715 (“’715 Patent”)
 10            2. 9,195,258 (“’258 Patent”)              7. 7,571,014 (“’014 Patent”)
 11            3. 9,219,959 (“’959 Patent”)              8. 10,541,883 (“’883 Patent”)
 12            4. 10,209,953 (“’953 Patent”)             9. 10,966,025 (“’025 Patent”)
 13            5. 10,439,896 (“’896 Patent”)             10. 11,080,001 (“’001 Patent”)
 14   Sonos seeks damages and injunctive relief arising from, inter alia, Google’s
 15   manufacture, use, offering for sale, sale, and importation into the U.S. of audio
 16   devices, mobile applications, and controller devices (such as mobile phones)
 17   containing infringing functionality. Sonos’s patents are directed to foundational
 18   aspects for setting up and operating wireless multiroom audio systems, including
 19   for example, setting up a playback device on a wireless local area network,
 20   managing and controlling groups of playback devices (e.g., adjusting group volume
 21   of playback devices and pairing playback devices together for stereo sound),
 22   synchronizing the playback of audio within groups of playback devices, and
 23   designating different roles or responsibilities to the members of a group of playback
 24   devices.
 25            The parties previously litigated ITC Investigation No. 337-TA-1191 (“1191
 26
 27
 28

                                                 -1-             Case No. 2:20-cv-00169-JAK (DFMx)
                                              JOINT REPORT
       01980-00162/15639962.1
Case 2:20-cv-00169-JAK-DFM       Document 74 Filed 02/21/25     Page 3 of 16 Page ID
                                       #:6378


  1   Investigation”), in which the ITC found that five asserted patents1 were valid and
  2   infringed by Google and that Google’s redesigned products did not infringe. This
  3   ruling was affirmed on appeal.
  4
  5   Google’s Summary: Sonos filed this action on January 7, 2020 (ECF No. 1). In
  6   that complaint, Sonos brought an action for patent infringement of five patents:
  7   United States Patent Nos. 8,588,949, 9,195,258, 9,219,959, 10,209,953, and
  8   10,439,896. The same day, Sonos filed a complaint asserting infringement of the
  9   same five patents in the International Trade Commission that resulted in a
 10   mandatory stay of this action. That stay was partially lifted on September 30, 2024
 11   (ECF No. 63), at which point Sonos amended its complaint to add three patents:
 12   United States Patent Nos. 7,571,014, 10,031,715, and 11,080,001 (ECF No. 64).
 13   The Court then fully lifted the stay on December 27, 2024 (ECF No. 70), at which
 14   point amended its complaint a second time to add two more patents: United States
 15   Patent Nos. 10,541,883 and 10,966,025.
 16         Google has asserted several defenses and disputes that Sonos is entitled to
 17   any relief (ECF No. 69).
 18
 19   2.    Subject Matter Jurisdiction
 20   This Court has subject matter jurisdiction over the matters asserted herein under 28
 21   U.S.C. §§ 1331 and 1338(a). Google does not contest subject matter jurisdiction.
 22
 23   3.    Legal Issues
 24   Sonos’s Summary: The Chief ALJ issued his decision on the ITC patents after a
 25   full trial on the merits, which was then adopted by the Commission. This case does
 26
      1
 27    The five asserted patents that were at issue in the 1191 Investigation were the ’949
      Patent, ’258 Patent,’959 Patent, ’953 Patent”, and ’896 Patent (collectively, “the ITC
 28   patents”).
                                              -2-              Case No. 2:20-cv-00169-JAK (DFMx)
                                          JOINT REPORT
Case 2:20-cv-00169-JAK-DFM      Document 74 Filed 02/21/25          Page 4 of 16 Page ID
                                      #:6379


  1   not just involve an ITC decision, but rather, an ITC decision that was affirmed by
  2   the Federal Circuit, and the Federal Circuit is bound to follow its own precedent.2
  3   Thus, in the interest of judicial economy, and more specifically to reduce the
  4   number of litigated issues, Sonos would prefer not to relitigate any previously
  5   litigated issue (especially those already addressed by the Federal Circuit), and to
  6   quickly bring this case to trial on the issue of damages for the previously-
  7   adjudicated infringement.
  8         At a minimum, the Court can and should (i) adopt the ITC’s Markman Order
  9   construing certain terms of the ITC patents, which also adopted the parties’
 10   stipulated constructions on other terms, or (ii) resolve claim construction disputes
 11   for the ITC patents on the basis of the briefing submitted in the ITC. This would
 12   save the Court and the parties from relitigating claim construction issues already
 13   decided by the ITC, and allow the parties to focus on terms requiring construction,
 14   if any, in the patents that were not at issue in the ITC.3
 15         To the extent that the Court agrees with Google and allows the parties to
 16   relitigate the issues in this case, Sonos believes that such issues will include:
 17   2
        Texas Instruments Inc. v. Cypress Semiconductor Corp., 90 F.3d 1558, 1569 (Fed.
 18   Cir. 1996) (acknowledging that ITC decisions are not binding on district courts, but
      noting that “[a]s a court we are bound to follow our own precedents, and, to the extent
 19   that we have previously ruled on a matter, a subsequent panel will have powerful
      incentives not to deviate from that prior holding, short of thoroughly justified
 20   grounds.”).
 21   3
        Notwithstanding Google’s citation below that “ITC determinations are not binding
      on district courts,” district courts do apply the equitable doctrine of judicial estoppel
 22   in cases where a party seeks to advance a position contrary to one advanced and
 23   accepted in an ITC proceeding. See, e.g., Solomon Techs., Inc. v. Toyota Motor
      Corp., No. 05-cv-1702-T-MAP, 2010 WL 715243, at *3 (M.D. Fla. Jan. 26, 2010)
 24   (applying judicial estoppel to prevent a party from repudiating in the district court a
      position it stipulated to during an ITC proceeding). Moreover, the parties did appeal
 25   ITC claim construction issues to the Federal Circuit (and had an opportunity to raise
 26   other ITC claim construction issues in that appeal). See, e.g., Alloc, Inc. v. Norman
      D. Lifton Co., 2007 WL 2089303, at *10-11 (S.D.N.Y. 2007) (ruling that while
 27   decisions from the ITC may not be entitled to preclusive effect, the Federal Circuit's
      claim construction rendered in an appeal of an ITC decision must be followed by
 28   district courts absent compelling reasons).
                                               -3-                 Case No. 2:20-cv-00169-JAK (DFMx)
                                            JOINT REPORT
Case 2:20-cv-00169-JAK-DFM      Document 74 Filed 02/21/25       Page 5 of 16 Page ID
                                      #:6380


  1         1.     Infringement of the ITC patents by Google’s products (decided by the
  2                ITC and Federal Circuit);
  3         2.     Validity of the ITC patents (decided by the ITC and Federal Circuit)
  4         3.     Infringement of Google’s products (especially the redesigns) by the
  5                other Asserted Patents (not decided by the ITC);
  6         4.     Validity of the other Asserted Patents (not decided by the ITC)
  7         5.     Damages for infringement of all of Google’s products (not decided by
  8                the ITC);
  9         6.     Injunctive relief, willfulness, and enhanced damages (not decided by
 10                the ITC).
 11   Google’s Summary: The following are the principal issues currently in dispute4:
 12         1. Whether Google infringes one or more claims of each Asserted Patent;
 13         2. Whether the Asserted Patents are valid and enforceable;
 14         3. Whether Google’s alleged infringement has been willful;
 15         4. Whether Sonos is entitled to damages or injunctive relief.
 16   Sonos’s proposal that the Court rule on claim construction issues at the outset without
 17   briefing by simply adopting the Administrative Law Judge’s Markman Order, or
 18   limit Google’s claim construction arguments to the briefing submitted to the
 19   Administrative Law Judge, lack any legal basis and would unfairly prejudice Google,
 20   including (among other reasons) because 1) Sonos has added five patents to this
 21   litigation that include terms not previously construed and that present new claim
 22   construction disputes; 2) new claim construction disputes pertaining to the ITC
 23   patents emerged (or re-emerged) after the Administrative Law Judge’s Markman
 24   Order, and those disputes remain unresolved; 3) Sonos has accused new products of
 25   infringement that were not at issue in the ITC case as to any of Sonos’s patents, and
 26   4
        With respect to accused infringers, ITC determinations are not binding on district
 27   courts, and “accused infringers can raise whatever defenses they believe are justified,
      regardless whether they previously raised them and lost in the ITC.” See Texas
 28   Instruments v. Cypress Semiconductor, 90 F.3d 1558, 1569 (Fed. Cir. 1996).
                                               -4-              Case No. 2:20-cv-00169-JAK (DFMx)
                                           JOINT REPORT
Case 2:20-cv-00169-JAK-DFM        Document 74 Filed 02/21/25          Page 6 of 16 Page ID
                                        #:6381


  1   4) Sonos has continued prosecute some of the patent families at issue in this case
  2   even after the Administrative Law Judge’s Markman Order, and any new admissions
  3   by Sonos are relevant intrinsic evidence and may affect the proper construction of
  4   previously disputed terms.5
  5   4.     Parties and Non-Party Witnesses
  6   Parties:
  7          1. Plaintiff Sonos, Inc. For conflict purposes, Sonos states that the following
  8              are subsidiaries or affiliates of Sonos:
  9                 a. T2 Software, Inc.
 10                 b. Sonos Europe B.V.
 11                 c. Sonos UK Ltd
 12                 d. Sonos Experience Ltd
 13                 e. Sonos Nordics Aps
 14                 f. Sonos France SARL
 15                 g. Sonos Vox France SAS
 16                 h. Sonos Sweden AB
 17                 i. Sonos Scotland Ltd.
 18                 j. Sonos Malaysia Technology Sdn Bhd.
 19                 k. Sonos Japan G.K.
 20                 l. Sonos Australia Pty Ltd
 21                 m. Beijing Sonos Technology Co., Ltd.
 22   5
        Sonos’s patent prosecution practices, including serial continuation applications and
 23   unfair delay, have been recognized as abusive in at least one other litigation, resulting
      in a determination of unenforceability. See Sonos, Inc. v. Google LLC, No. C 20-
 24   06754 WHA & C 21-07559 WHA, 2023 WL 6542320, at *30 (N.D. Cal. Oct. 6,
      2023) (after a lengthy and in retrospective wasteful jury trial, finding that Sonos’
 25   asserted patent is invalid and unenforceable, and vacating the jury verdict); see also
 26   id. (“It is wrong that our patent system was used in this way. With its constitutional
      underpinnings, this system is intended to promote and protect innovation. Here, by
 27   contrast, it was used to punish an innovator and to enrich a pretender by delay and
      sleight of hand. It has taken a full trial to learn this sad fact, but, at long last, a measure
 28   of justice is done.”).
                                                  -5-                Case No. 2:20-cv-00169-JAK (DFMx)
                                              JOINT REPORT
Case 2:20-cv-00169-JAK-DFM       Document 74 Filed 02/21/25        Page 7 of 16 Page ID
                                       #:6382


  1                n. Sonos Hong Kong Ltd
  2                o. Sonos Vietnam Limited
  3                p. Sonos Mighty Holding BV
  4                q. Sonos Mighty BV
  5                r. QCode Media, Inc.
  6         2. Defendant Google LLC. For conflicts purposes, Google states that it is a
  7             subsidiary of XXVI Holdings Inc. which is a subsidiary of Alphabet Inc.
  8   Anticipated Witnesses:
  9         1. Corporate representatives pursuant to Rule 30(b)(6) for each party.
 10         2. Non-Party inventors of the Asserted Patents.
 11         3. Non-parties knowledgeable about prior art to the Asserted Patents.
 12         4. Other witnesses the parties anticipate identifying in their respective initial
 13             disclosures.
 14
 15   5.    Damages
 16   Sonos’s Summary: Sonos is currently unable to accurately estimate provable
 17   damages at this time. Through discovery and with the assistance of one or more
 18   expert witnesses, Sonos will provide its computation of damages. At the very least,
 19   Sonos is entitled to a reasonable royalty, if not its lost profits, adequate to
 20   compensate it for infringement, with prejudgment and post-judgment interest, under
 21   35 U.S.C. § 284. Sonos would also be entitled to an award of reasonable attorney’s
 22   fees in the event the Court finds this to be an “exceptional case” under 35 U.S.C. §
 23   285. Plaintiff also reserves its right to request enhanced damages based upon
 24   Google’s willful infringement.
 25
 26   Google’s Summary: Google has asked the Court to find this case to be exceptional
 27   under 35 U.S.C. § 285 and to award Google all reasonable costs, experts’ fees, and
 28   attorneys’ fees. Google is currently unable to accurately estimate those costs,
                                                -6-               Case No. 2:20-cv-00169-JAK (DFMx)
                                            JOINT REPORT
Case 2:20-cv-00169-JAK-DFM      Document 74 Filed 02/21/25      Page 8 of 16 Page ID
                                      #:6383


  1   experts’ fees, or attorneys’ fees.
  2
  3   6.    Insurance
  4         The Parties are not aware of any insurance coverage issues in this case.
  5
  6   7.    Motions
  7   Sonos’s Summary: Sonos does not presently anticipate filing any motions seeking
  8   to add parties, claims, or amended pleadings.
  9
 10   Google’s Summary: Google anticipates filing a joint motion for a protective order
 11   governing the confidentiality of information and the review of source code in this
 12   matter, as well as a joint motion for an order governing the treatment of
 13   electronically stored information (ESI) in discovery. Google does not presently
 14   anticipate filing any motions seeking to add parties, claims, or amended pleadings.
 15
 16   8.    Manual for Complex Litigation
 17         The parties agree that the procedures contemplated by the manual for
 18   complex litigation are not necessary for this dispute.
 19
 20   9.    Status of Discovery
 21   Sonos’s Summary: Although no discovery has been conducted in the present case,
 22   the parties have conducted extensive discovery in the 1191 Investigation, including
 23   written discovery, document production, depositions, and developed a full trial
 24   record, concerning validity of the ITC patents and infringement of the ITC patents.
 25
 26   Google’s Summary: No discovery has been conducted. The parties conducted
 27   discovery in the ITC Investigation related to five of the Asserted Patents, which (as
 28   discussed further below) may be used in whole or in part in this case to minimize
                                              -7-              Case No. 2:20-cv-00169-JAK (DFMx)
                                           JOINT REPORT
Case 2:20-cv-00169-JAK-DFM       Document 74 Filed 02/21/25      Page 9 of 16 Page ID
                                       #:6384


  1   the scope of discovery required.
  2
  3   10.   Discovery Plan
  4   Sonos’s Summary: Given the extensive discovery conducted in the 1191
  5   Investigation, Sonos proposes the following for efficiency’s sake:
  6         1.     The entire record from, and discovery taken in, the ITC should become
  7                part of the record and be otherwise available for use in this case
  8                consistent with 28 U.S.C. § 1659(b)6 and subject to the Federal Rules
  9                of Evidence and the Federal Rules of Civil Procedure. In particular,
 10                depositions taken (and other testimony provided) in the 1191
 11                Investigation should be considered as depositions taken (or testimony
 12                provided) in this action for all purposes.
 13         2.     In view of the above, the Parties need not retread discovery already
 14                taken in the ITC concerning the subject matter at issue there. (As a
 15                non-limiting example, (i) the parties need not seek to re-depose
 16                witnesses concerning the subject matter for which they were already
 17                deposed, as such prior depositions will be able to be used as if taken in
 18                this case.)
 19         Sonos’s anticipates conducting depositions of relevant corporate
 20   representatives identified by Google within the discovery period in this case and
 21   anticipates completing the same prior to the discovery cut-off date. Sonos
 22   anticipates seeking written discovery concerning at least (i) the functionality of the
 23   accused products, including a request that source code for the accused products be
 24
 25   6
        “Notwithstanding section 337(n)(1) of the Tariff Act of 1930, after dissolution of a
 26   stay under subsection (a), the record of the proceeding before the United States
      International Trade Commission shall be transmitted to the district court and shall be
 27   admissible in the civil action, subject to such protective order as the district court
      determines necessary, to the extent permitted under the Federal Rules of Evidence
 28   and the Federal Rules of Civil Procedure.” 28 U.S.C. § 1659(b).
                                              -8-               Case No. 2:20-cv-00169-JAK (DFMx)
                                           JOINT REPORT
Case 2:20-cv-00169-JAK-DFM       Document 74 Filed 02/21/25      Page 10 of 16 Page ID
                                       #:6385


   1   made available for inspection, (ii) sales, cost, profit, and revenue information
   2   concerning the accused products, and (iii) knowledge of the Asserted Patents and
   3   actions taken, if any, to avoid infringement, and anticipates completing the same by
   4   the discovery cut-off date.
   5         Regarding general discovery limits, Sonos proposes the following:
   6            1. Requests for Admission. A maximum of 40 requests for admission are
   7                permitted for each side. In addition, the parties may serve a reasonable
   8                number of requests for admission to establish the authenticity of
   9                documents. Requests for admission directed to document
 10                 authentication shall be clearly denoted as such and shall be served
 11                 separately from any requests for admission subject to the numerical
 12                 limitation, above.
 13             2. Interrogatories. A maximum of 25 interrogatories are permitted for
 14                 each side.
 15             3. Depositions. Each side is limited to a total of 100 hours of taking
 16                 testimony by deposition upon oral examination, not including expert
 17                 depositions. Google’s proposal of 50 hours is too limited at this point.
 18                 For instance, there are over 20 accused products and 10 patents (five of
 19                 which were not at issue in the ITC) at issue in this case. Additionally,
 20                 Google redesigned its products to avoid the ITC remedy, so there are
 21                 multiple versions at issue in this case for each accused product.
 22                 Further, ITC discovery did not encompass damages or willfulness
 23                 issues, which are at issue in this case. Further, Sonos is unable to
 24                 ascertain the number of (first or third party) depositions needed for
 25                 prior art purposes as Google has not yet served its invalidity
 26                 contentions and has argued that it is not bound by its ITC invalidity
 27                 positions, but instead intends to raise brand-new invalidity positions.
 28                 Google relied heavily on “system art” at the ITC and, in turn, on the
                                               -9-               Case No. 2:20-cv-00169-JAK (DFMx)
                                            JOINT REPORT
Case 2:20-cv-00169-JAK-DFM      Document 74 Filed 02/21/25        Page 11 of 16 Page ID
                                      #:6386


   1                testimony of witnesses to establish foundational elements of such
   2                “system art.” Sonos expect Google to do the same here, which
   3                requires additional depositions. Thus, 100 hours of deposition time is
   4                a reasonable estimate at this point.
   5             4. Email Discovery. Sonos is amenable to agreeing to high-level email
   6                discovery limits in this report, subject to entry of a more fulsome
   7                stipulation regarding ESI. To this end, Sonos can agree to limit email
   8                discovery to seven custodians and five terms each.
   9
 10    Google’s Summary: Google anticipates that the scope of discovery will encompass
 11    the factual and legal issues identified in Section 3 above. Google is amenable to
 12    reproduction of the parties’ discovery from the ITC Investigation for use in this
 13    case, provided that it results in a reduction of discovery burdens in this case,
 14    particularly with respect to email discovery and total deposition hours for each side.
 15    Accordingly, Google proposes the following discovery limits that would apply to
 16    the extent party discovery from the ITC Investigation is reproduced in this case
 17    (beyond those set by the federal or local rules):
 18          1. Email discovery. Each party is limited to a total of three email custodians
 19    for all email production requests, and a total of five search terms per custodian
 20    (with the search terms being narrowly tailored to particular issues).
 21          2. Depositions. Each side is limited to a total of 50 hours of taking
 22    testimony by deposition upon oral examination, not including expert depositions.
 23          Google’s proposals take into account the significant discovery that has
 24    already been conducted by the parties in the ITC Investigation. Sonos’s proposals
 25    with respect to email discovery and depositions would impose the same, if not
 26    more, discovery burdens than a typical case and therefore defeats the purpose of
 27    utilizing cross use of discovery (which would be to limit discovery burdens in this
 28    case). For example, seven email custodians with five terms per custodian is the
                                                - 10 -            Case No. 2:20-cv-00169-JAK (DFMx)
                                            JOINT REPORT
Case 2:20-cv-00169-JAK-DFM      Document 74 Filed 02/21/25       Page 12 of 16 Page ID
                                      #:6387


   1   email discovery limitation that Sonos and Google agreed to in another litigation,
   2   Google LLC v. Sonos, Inc., 3:20-cv-06754-WHA (N.D. Cal.), which did not utilize
   3   any cross use of email discovery from the ITC case. Accordingly, if the parties are
   4   going to be required to undertake the full burdens of a new case’s worth of email
   5   discovery, as Sonos proposes, then that should replace the email discovery
   6   produced in the ITC case, and Google does not agree to cross use of that material in
   7   this case. Similarly, the default deposition limits under the Federal Rules would be
   8   ten depositions of up to seven hours each (i.e., seventy hours of depositions); if the
   9   deposition transcripts from the ITC case – in which Sonos deposed 18 separate
 10    Google fact witnesses alone – are to be considered depositions taken in this case,
 11    there is no need for anything close to 100 hours of additional deposition testimony
 12    proposed by Sonos. Google’s proposal of 50 hours takes account of the new
 13    patents, products, and issues (such as damages) raised by Sonos’s Second Amended
 14    Complaint.
 15          The other proposals offered by Sonos are unnecessary, vague, impractical,
 16    and would prejudice Google by seeking to unfairly restrict its right to assert, and
 17    seek discovery regarding, any defenses that it believes are justified regardless of
 18    whether they were raised (in whole or in part) in the ITC. See Texas Instruments v.
 19    Cypress Semiconductor, 90 F.3d 1558, 1569 (Fed. Cir. 1996). By way of example,
 20    Sonos’s proposal that the parties “need not retread discovery already taken in the
 21    ITC concerning the subject matter at issue here” is vague and would lead to endless
 22    disputes over whether any given question at a particular deposition concerned the
 23    “subject matter” of discovery that was taken or sought in the ITC Investigation. To
 24    the extent Sonos’s proposal would restrict Google’s ability to take discovery
 25    allowed by the federal and local rules, regardless of what was done in the ITC case,
 26    Google does not agree to any such restrictions and there is no justification to
 27    impose them on the parties.
 28
                                               - 11 -            Case No. 2:20-cv-00169-JAK (DFMx)
                                            JOINT REPORT
Case 2:20-cv-00169-JAK-DFM      Document 74 Filed 02/21/25       Page 13 of 16 Page ID
                                      #:6388


   1   11.     Discovery Cut-Off
   2   The Parties propose the discovery cut-off to be February 11, 2026. See ECF No.
   3   73-1.
   4   12.     Expert Discovery
   5   The Parties propose that expert discovery occur once expert reports have been
   6   served and continue until the date of discovery cut-off, February 11, 2026.
   7
   8   13.     Dispositive Motions
   9   Sonos’s Summary: At this point, Sonos is not presently aware of any issues or
 10    claims that may be determined by summary judgment or motion in limine. To the
 11    extent warranted after discovery and/or trial, Sonos reserves the right to seek
 12    summary judgment and/or judgment as a matter of law on relevant issues.
 13
 14    Google’s Summary: Google anticipates moving for summary judgment and may
 15    file other dispositive motions as the case progresses.
 16
 17    14.     Settlement
 18    Sonos’s Summary: The parties have engaged in settlement negotiations previously
 19    to no avail. Sonos is amenable to continuing these negotiations.
 20            Sonos and Google have conducted settlement negotiations as follows:
 21            1. The parties met several times between 2016-2019 to discuss resolution of
 22               Google’s infringement. No agreement was reached.
 23            2. On October 19, 2020, the parties conducted a one-day mediation with Ret.
 24               Judge Layn Phillips. No agreement was reached.
 25            3. On June 30, 2022, the parties conducted another one-day mediation with
 26               Ret. Judge Layn Phillips. No agreement was reached.
 27            4. On May 2, 2023, the parties conducted another one-day mediation with
 28               Judge Thomas Hixon. No agreement was reached.
                                               - 12 -            Case No. 2:20-cv-00169-JAK (DFMx)
                                            JOINT REPORT
Case 2:20-cv-00169-JAK-DFM          Document 74 Filed 02/21/25      Page 14 of 16 Page ID
                                          #:6389


   1   Google’s Summary: Google is amenable to conducting further settlement
   2   discussions and proposes that the parties continue to use Ret. Judge Layn Phillips
   3   who is very familiar with the parties’ disputes having conducted multiple mediation
   4   sessions between the parties including on October 19, 2020 and June 20, 2022.
   5
   6   15.   Trial Estimate
   7   Sonos’s Summary: Sonos anticipates that a 10-day trial is needed to try the issues
   8   in this case. Although, Sonos is amenable to limiting the number of asserted claims
   9   and prior art references, such that a shorter, bellwether trial may occur first. Sonos
 10    requests a trial by jury on all issues so triable. At trial, Sonos expects to call 3-4
 11    corporate witnesses from Sonos, 3-4 corporate witnesses for Google, and 3-4 expert
 12    witnesses, for a total of 9-12 total witnesses.
 13
 14    Google’s Summary: Google estimates a trial length of between 10 and 15 Court
 15    days. Google expects that Sonos will narrow the number of claims and patents at
 16    issue in advance of trial.
 17
 18    16.   Trial Counsel
 19          Sonos will be represented by Clem S. Roberts of Orrick Herrington &
 20    Sutcliffe LLP and Sean M. Sullivan of Lee Sullivan Shea & Smith LLP.
 21          Google will be represented by Sean Pak, Melissa Baily, and Lance Yang of
 22    Quinn Emanuel Urquhart & Sullivan.
 23
 24    17.   Independent Expert or Master
 25          The parties do not believe that an independent expert or master is necessary.
 26
 27    18.   Timetable
 28          See ECF No. 73-1.
                                                 - 13 -            Case No. 2:20-cv-00169-JAK (DFMx)
                                              JOINT REPORT
Case 2:20-cv-00169-JAK-DFM     Document 74 Filed 02/21/25       Page 15 of 16 Page ID
                                     #:6390


   1   19.   Other Issues
   2         The parties do not anticipate any additional issues.
   3
   4   20.   Patent Cases
   5         The parties propose abiding by the Court’s standing Order as it pertains to
   6   claim construction and a Markman hearing.
   7
   8   21.   Whether the Parties Wish to Have a Magistrate Judge Preside
   9         The parties do not consent to a magistrate judge presiding over the entire
 10    action.
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                              - 14 -            Case No. 2:20-cv-00169-JAK (DFMx)
                                           JOINT REPORT
Case 2:20-cv-00169-JAK-DFM      Document 74 Filed 02/21/25        Page 16 of 16 Page ID
                                      #:6391


   1
       Dated: February 21, 2025          ORRICK, HERRINGTON & SUTCLIFFE LLP
   2
                                         and
   3                                     LEE SULLIVAN SHEA & SMITH LLP
   4
                                         By:         /s/ Alyssa Caridis
   5                                            ALYSSA CARIDIS (SBN 260103)
                                               Attorneys for Plaintiff, SONOS, INC.
   6
   7
       Dated: February 21, 2025          QUINN EMANUEL URQUHART & SULLIVAN, LLP
   8
   9
                                         By:          /s/ Lance Yang
 10                                                 LANCE YANG (SBN 260705)
                                               Attorneys for Defendant, GOOGLE LLC
 11
 12
                                   FILER’S ATTESTATION
 13
             I, Alyssa Caridis, pursuant to Civil Local Rule 5-4.3.4(2)(i), attest that all
 14
       other signatories listed, and on whose behalf the filing is submitted, concur in the
 15
       filing’s content and have authorized the filing.
 16
 17
       Dated: February 21, 2025                     /s/ Alyssa Caridis
 18                                            ALYSSA CARIDIS (SBN 260103)
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                - 15 -            Case No. 2:20-cv-00169-JAK (DFMx)
                                            JOINT REPORT
